   Case: 1:23-cv-01469 Document #: 249 Filed: 06/26/25 Page 1 of 5 PageID #:2925




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SHOBANA SHANKAR and RAGHAVENDRA                       )
 JAYANTH CHAKRAVARTHY,                                 )
                                                       )       No. 23 C 1469
                        Plaintiffs,                    )
        v.                                             )       Chief Judge Virginia M. Kendall
                                                       )
 FAIRVIEW AVENUE PROPERTIES LLC,                       )
                                                       )
                         Defendants.                   )

                                      OPINION AND ORDER

       Pending before the Court is Defendant Robert Rixer’s Motion to Dismiss Count One of

Plaintiffs’ Amended Complaint. (Dkt. 197). For the reasons below, the Court denies Rixer’s

Motion to Dismiss [197]. Because Plaintiffs’ Amended Complaint simply added defendants and

contains identical factual allegations with respect to the RICO claim against Rixer, the Court

assumes familiarity with the factual background outlined in its December 6, 2023 Memorandum

Opinion denying Defendants’ earlier motion to dismiss. (Dkt. 88)

                                       LEGAL STANDARD

       To survive a 12(b)(6) motion to dismiss for failure to state a claim, the complaint must

contain “a short and plain statement of the claim showing that the pleader is entitled to relief.”

Russell v. Zimmer, Inc., 82 F.4th 564, 570 (7th Cir. 2023) (quoting Fed. R. Civ. P. 8(a)(2)). Thus,

“a plaintiff must allege ‘enough facts to state a claim that is plausible on its face.’” Allen v. Brown

Advisory, LLC, 41 F.4th 843, 850 (7th Cir. 2022) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (quoting Ashcroft v. Iqbal, 566 U.S. 662, 678 (2009)). The Court accepts the well-



                                                  1
   Case: 1:23-cv-01469 Document #: 249 Filed: 06/26/25 Page 2 of 5 PageID #:2926




pleaded factual allegations in the plaintiff’s complaint as true, “drawing all reasonable inferences

in his favor.” Id. (citing W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 675 (7th Cir. 2016)).

Yet, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements[,]” are not enough. Oakland Police & Fire Ret. Sys. v. Mayer Brown, LLP, 861 F.3d

644, 649 (7th Cir. 2017) (quoting Iqbal, 556 U.S. at 678). The complaint’s factual content must

“raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

       For claims sounding in fraud, Federal Rule of Civil Procedure 9(b) requires plaintiffs to

“state with particularly the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Thus, a plaintiff

must “describe the ‘who, what, when, where, and how’ of the fraud—‘the first paragraph of any

newspaper story.’” United States ex rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d

770, 776 (7th Cir. 2016) (quoting United States ex rel. Lusby v. Rolls-Royce Corp., 570 F.3d 849,

853 (7th Cir. 2009)).

                                           DISCUSSION

       I.      Successive Rule 12(b)(6) Motions to Dismiss

       As a preliminary matter, Plaintiffs argue that Rixer should not be permitted to contest the

plausibility of Plaintiffs’ RICO claim a second time in a successive motion to dismiss under Rule

12(b)(6). (Dkt. 209 at 1–3); Fed. R. Civ. P. 12(b)(6). In the Seventh Circuit, the law is that “Rule

12(g)(2) does not prohibit a new Rule 12(b)(6) argument from being raised in a successive

motion.” Ennenga v. Starns, 677 F.3d 766, 773 (7th Cir. 2012). Earlier in this litigation, Rixer

joined Defendant Chase Real Estate, LLC’s motion to dismiss Plaintiffs’ initial Complaint, which

argued that Plaintiffs failed to state a RICO claim under 18 U.S.C. § 1962(c) or § 1962(d) (Count

I). (Dkt. 66 at 6–11; Dkts. 67, 73). Specifically, Defendants argued that Plaintiffs generally failed

to plead a distinct enterprise, failed to plead the predicate acts with requisite specificity, and



                                                  2
   Case: 1:23-cv-01469 Document #: 249 Filed: 06/26/25 Page 3 of 5 PageID #:2927




improperly attributed all alleged predicate acts to all Defendants. (Dkt. 66 at 6–11). Now, Rixer

repeats similar arguments, albeit re-tailored to specifically to address the plausibility of the RICO

claim against him. (Dkt. 197 at 1–4). While rehashing Rule 12(b)(6) arguments already made in a

prior motion to dismiss denied by the Court may not be advisable, it is permissible under Rule

12(h). Ennenga, 677 F.3d at 773 (“Stated differently, Rule 12(h)(2) specifically excepts failure-

to-state-a-claim defenses from the Rule 12(g) consolidation requirement.”).

        II.     Plausibility of Plaintiffs’ RICO Claim Against Defendant Rixer (Count I)

        In Count One, Plaintiffs assert that Defendants, including Rixer, violated § 1962(c) and §

1962(d). 18 U.S.C. §§ 1962(c), (d). Under § 1962(c), it is “unlawful for any person employed by

or associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” To state a claim under § 1962(c), a plaintiff must

allege: “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity.” Cedric

Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001); accord Sabrina Roppo v. Travelers

Com. Ins. Co., 869 F.3d 568, 587–88 (7th Cir. 2017).

        Rixer’s arguments against the plausibility of Plaintiffs’ RICO claim are squarely foreclosed

by the Court’s prior Opinion on Defendants’ first motion to dismiss. Rixer asserts, in a footnote,

that Plaintiffs fail to state a claim that Rixer violated § 1962(c), because the Amended Complaint

does not describe how Rixer committed two predicate acts, as required to satisfy the “pattern of

racketeering activity” element. (Dkt. 197 at 1 n.1). As the Court previously concluded, Plaintiffs

sufficiently pleaded at least two predicate acts of wire fraud. Shankar et al., v. Fairview Ave.

Properties LLC, et al., 2023 WL 8451779, at *7–8 (N.D. Ill. Dec. 6, 2023). Those acts are

sufficiently attributable to Rixer, because, as the Court concluded, Plaintiffs sufficiently allege that



                                                   3
   Case: 1:23-cv-01469 Document #: 249 Filed: 06/26/25 Page 4 of 5 PageID #:2928




Rixer knowingly participated in the asserted scheme to defraud by purchasing and reselling several

properties to Plaintiffs in coordination with the other Defendants, including his purported agent

Mikosz, who directly used the wires to communicate the misrepresentations, from which the

predicate acts of wire fraud arise, in furtherance of the scheme to defraud. Shankar, 2023 WL

8451779, at *8; United States v. Powell, 576 F.3d 482, 490 (7th Cir. 2009); United States v.

Jackson, 546 F.3d 801, 815–16 (7th Cir. 2008) (“Even so, co-schemers are jointly responsible for

one another’s acts in furtherance of the scheme; so upon finding that Joe was a knowing participant

in the scheme, the jury was free to hold him to account for any fraudulent misrepresentations that

were made by Essie and/or Angela after he joined the scheme.”); United States v. Sheneman, 682

F.3d 623, 630 (7th Cir. 2012) (“[T]here is no requirement that a defendant personally cause the

use of the wire. Rather, it will suffice if the use of the wire ‘will follow in the ordinary course of

business, or where such use can be reasonably foreseen, even though not actually intended.’ ”);

United States v. Adeniji, 221 F.3d 1020, 1026 (7th Cir. 2000).

        Finally, Rixer argues that Plaintiffs fail to plausibly allege that Rixer violated § 1962(d).

Section 1962(d) makes it “unlawful for any person to conspire to violate any of the provisions of

subsection (a), (b), or (c) of this section.” 18 U.S.C. § 1962(d). To state a claim under § 1962(d),

a plaintiff “must allege that the defendant (1) agreed to maintain an interest in or control of an

enterprise, or to participate in an enterprise’s affairs, (2) through a pattern of racketeering activity,

and (3) that the defendant agreed that some member of the conspiracy (not necessarily the

defendant herself) would commit at least two predicate acts in furtherance of those goals.”

Domanus v. Locke Lord LLP, 847 F.3d 469, 479 (7th Cir. 2017) (citing DeGuelle v. Camilli,

664 F.3d 192, 204 (7th Cir. 2011)); Salinas v. United States, 522 U.S. 52, 64 (1997).




                                                   4
   Case: 1:23-cv-01469 Document #: 249 Filed: 06/26/25 Page 5 of 5 PageID #:2929




       Rixer primarily asserts that Plaintiffs fail to allege anything more than “mere association

with an alleged RICO enterprise[.]” (Dkt. 197 at 3). But, as the Court previously concluded,

Plaintiffs sufficiently allege close relationships between Rixer and the other Defendants and a

pattern of coordinated actions by Rixer and the other Defendants, including the several real estate

transactions and associated predicate acts of alleged wire fraud, which support a plausible

inference of an agreement to participate in the alleged enterprise through a pattern of racketeering

activity and an agreement that two predicate acts in furtherance of the enterprise’s goals be

committed. See Shankar, 2023 WL 8451779, at *8 (discussing Plaintiffs’ plausible allegations of

close relationships between Rixer and the other Defendants as well as the pattern of coordinated

actions); Domanus, 847 F.3d at 479 (“Formal agreement is not necessary; when the acts performed

by the alleged members of the conspiracy are unlikely to have been done alone, the court may infer

agreement.”); United States v. Volpendesto, 746 F.3d 273, 284 (7th Cir. 2014) (“As with

conspiracy in general, circumstantial evidence that the defendants agreed to participate in the

enterprise is sufficient.”). Plaintiffs thus state a plausible RICO conspiracy claim under § 1962(d).

Accordingly, the Court denies Rixer’s Motion to Dismiss. (Dkt. 197).

                                         CONCLUSION

       For the reasons above, the Court denies Rixer’s Motion to Dismiss [197].




                                              Virginia M. Kendall
                                              United States District Judge

 Date: June 26, 2025




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